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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                          :
KEVIN MARSTON and BELAL SAFI, on :                CIVIL ACTION
behalf of themselves and others similarly :
situated,                                 :       ELECTRONICALLY FILED
                                          :       ON DECEMBER 20, 2019
                            Plaintiff,    :
             v.                           :       CLASS ACTION
                                          :
S-L DISTRIBUTION COMPANY, LLC,            :       JURY TRIAL DEMANDED
                                          :
                            Defendant. :


                      COMPLAINT – CLASS ACTION

      Kevin Marston (“Marston”) and Belal Safi (“Safi”) (together

“Plaintiffs”) bring this class action lawsuit against S-L Distribution

Company, LLC (“Defendant”) for violations of New Hampshire wage laws.

                        JURISDICTION AND VENUE

      1.      Jurisdiction is proper under 28 U.S.C. § 1332.

      2.      Venue is proper under 29 U.S.C. § 1391 because Defendant is

headquartered in this judicial district and because the underlying

Distributor Agreement requires that litigation occur in a federal or state

court encompassing York County.

                                   PARTIES

      3.      Marston resides in Center Barnstead, NH.


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     4.      Safi resides in Canterbury, NH.

     5.      Defendant is headquartered in Hanover, PA.

     6.      Prior to around 2016, Defendant operated under the name S-L

Distribution Company, Inc.

                                    FACTS

     7.      Defendant, according to its website, “is a wholesale distributor

of various snack food products manufactured by subsidiaries and affiliates

of Snyder’s-Lance, Inc.”

     8.      Defendant pays workers to deliver/distribute snack food

products to retail stores and other customers within specific geographic

areas referred to as “routes.” Defendant requires these workers to form

corporations as a condition of doing business with Defendant and refers to

the workers as “IBOs.” Such terminology will be used throughout this

complaint.

     9.      Plaintiffs work for Defendant as IBOs in New Hampshire. In

order to work for Defendant, Plaintiffs were required to form corporations

that are headquartered at Plaintiffs’ homes.

     10.     Most of the products Plaintiffs and other New Hampshire IBOs

deliver/distribute are manufactured outside of New Hampshire.

     11.     IBOs use vehicles to transport the products from Defendant’s


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warehouses to customers.

      12.   Defendant’s company website states that “[t]he individual(s)

who own the IBO entity must have a valid driver’s license.” The website

further explains that “[a]n IBO is responsible for providing its own vehicle”

and that “[c]ommon delivery vehicles used for this type of business are step

vans, box trucks or trailers.”

      13.   The work of Plaintiffs and other IBOs falls squarely within

Defendant’s usual course of business. Indeed, Plaintiffs and other IBOs are

central to Defendant’s core business as “a wholesale distributor of various

snack food products.”

      14.   Plaintiffs and other IBOs are not engaged in independently

established trades, occupations, professions, or businesses. Rather, IBOs

generally work exclusively for Defendant and their associated corporate

entities generally exist for the sole purpose of working for Defendant.

      15.   Each week, Defendant makes diversions/withholdings from the

earnings of Plaintiffs and other IBOs. These diversions/withholdings are

itemized on weekly “settlement sheets” and include, inter alia,

diversions/withholdings for route loan repayments, truck loan repayments,

truck rental payments, and electronic equipment.

      16.   In addition, Plaintiffs and other IBOs regularly incur work-


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related expenses for, inter alia, gas, vehicle maintenance/repair, and

insurance. Defendant does not reimburse Plaintiffs and other IBOs for

such expenses, which are directly related to the work Plaintiff and other

IBOs perform for Defendant.

      17.     Both Marston and Safi independently estimate that, during the

applicable limitations period, the monetary value of the deductions and

expenses referenced above exceed $75,000.

                           CLASS ALLEGATIONS

      18.     Plaintiffs bring this action on behalf of themselves and other

individuals who, either individually or through a closely held corporation,

performed work for Defendant or any of its related or predecessor

companies (including, inter alia, S-L Distribution Company, Inc. and SL

Routes, LLC) as an IBO in New Hampshire within the past 3 years.

      19.     Class action treatment of this action appropriate because all of

Federal Rule of Civil Procedure 23’s class action requisites are satisfied. In

particular:

              (a) The class includes over 40 individuals, all of whom are

readily ascertainable based on Defendant’s records and are so numerous

that joinder of all class members is impracticable.

              (b)   Plaintiffs are class members, their claims are typical of the


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claims of other class members, and they have no interests that are

antagonistic to or in conflict with the interests of other class members.

            (c)    Plaintiffs and their lawyers will fairly and adequately

represent the class members and their interests.

            (d)    Questions of law and fact are common to all class

members, because, inter alia, this action concerns Defendant’s common

business policies and practices, as summarized herein. The legality of these

practices will be determined through the application of generally applicable

legal principles to common facts.

            (e)    Class certification is appropriate under Federal Rule of

Civil Procedure 23(b)(3) because common questions of law and fact

predominate over questions affecting only individual class members and

because a class action is superior to other available methods for the fair and

efficient adjudication of this litigation.

                                   COUNT I

      20.   All previous paragraphs are incorporated as though fully set

forth herein.

      21.   New Hampshire law provides that, except under limited

circumstances not applicable here, “[n]o employer may withhold or divert

any portion of an employee’s wages unless . . . [t]he employer has a written


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authorization by the employee for deductions for a lawful purpose accruing

to the benefit of the employee.” N.H. Rev. Stat. Ann. § 275:48. Plaintiffs

are statutory employees entitled to these protections.

      22.   New Hampshire law also entitles employees to reimbursement

for expenses incurred “in connection with his or her employment.” N.H.

Rev. Stat. Ann. § 275:57. Plaintiffs are statutory employees entitled to these

protections.

      23.   Defendant violated New Hampshire law by subjecting Plaintiffs

and other class members to the types of diversions/withholdings referenced

in paragraph 15 and failing to reimburse Plaintiffs and other class members

for the types of work-related expenses referenced in paragraph 16.

                         PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs seek the following relief on behalf of

themselves and other class members: (A) class certification; (B) payments

equaling the value of all improper diversions/withholdings; (C)

reimbursement for all work-related expenses; (D) all available

penalties/statutory damages available under New Hampshire law, see, e.g.,

N.H. Rev. Stat. Ann. § 275:57(IV); (E) pre-judgment interest; and (F) any

other relief the Court deems just and proper.




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                     JURY TRIAL DEMANDED

    Plaintiffs demand a jury trial.

Date: December 20, 2019               Respectfully,



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